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           In the United States Court of Federal Claims
                                               )
 SPACE EXPLORATION                             )
 TECHNOLOGIES CORP.,                           )
                                               )
        Plaintiff,                             )               No. 19-742C
                                               )
 v.                                            )               Filed July 29, 2019
                                               )
 THE UNITED STATES,                            )
                                               )
        Defendant,                             )
                                               )
 v.                                            )
                                               )
 BLUE ORIGIN, LLC, et al.,                     )
                                               )
        Defendant-Intervenors.                 )
                                               )

                                    SCHEDULING ORDER

       On July 25, 2019, the government filed an unopposed motion to amend the Scheduling
Order dated May 22, 2019, in the above-captioned post-award bid protest matter (docket entry
no. 66). Counsel for the government represents that the additional time is necessary to allow for
oral argument on the government’s motion to dismiss, which has been scheduled to occur on
August 15, 2019, before the parties brief the merits of this case.

       In light of the foregoing, and for good cause shown, the Court GRANTS the
government’s unopposed motion to amend the Scheduling Order and amends the Scheduling
Order dated May 22, 2019 as follows:

       1. Oral argument on the government’s motion to dismiss will be held on Thursday,
           August 15, 2019, at 2:00 p.m. Eastern Time, in the Howard T. Markey National
           Courts Building, 717 Madison Place N.W., Washington, DC 20439.

       2. On or before 5:00 p.m. Eastern Time on August 23, 2019, plaintiff shall FILE a
           motion for judgment upon the administrative record, pursuant to RCFC 52.1(c).
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3. On or before 5:00 p.m. Eastern Time on September 13, 2019, the government and
   the defendant-intervenors shall FILE their respective responses to plaintiff’s motion
   for judgment upon the administrative record, as well as their respective cross-motions
   for judgment upon the administrative record.

4. On or before 5:00 p.m. Eastern Time on September 27, 2019, plaintiff shall FILE a
   response to the government’s and the defendant-intervenors’ cross-motions for
   judgment upon the administrative record as well as a reply in support of its motion for
   judgment upon the administrative record.

5. On or before 5:00 p.m. Eastern Time on October 9, 2019, the government and the
   defendant-intervenors shall FILE their respective reply briefs in support of their
   cross-motions for judgment upon the administrative record.

6. Oral argument on the parties’ cross-motions for judgment upon the administrative
   record, if warranted, shall be held at a time and date to be determined in consultation
   with the parties.

7. The parties shall provide the Court with a courtesy copy of their briefs in non-
   PDF electronic format (Word) via e-mail to the following address:
   griggsby_chambers@cfc.uscourts.gov.

IT IS SO ORDERED.



                                          s/ Lydia Kay Griggsby
                                          LYDIA KAY GRIGGSBY
                                          Judge




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